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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



SHARPE INNOVATIONS, INC.,                           Case No. 1:17-CV-05462

                   Plaintiff,                       Patent Case


       vs.                                          Hon. Virginia M. Kendall

TRACFONE WIRELESS, INC., CVS
HEALTH CORPORATION, AMAZON.COM,
INC.,

                   Defendants.


                 JOINT STIPULATION TO DISMISS WITH PREJUDICE


       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, Plaintiff Sharpe

Innovations, Inc. and Defendants TracFone Wireless, Inc., CVS Health Corporation, and

Amazon.com, Inc., by and through their respective counsel, hereby stipulate to dismissal with

prejudice of all claims in the above-referenced action and to dismissal without prejudice, as

moot, all counterclaims. Each party shall bear its own costs, expenses and attorneys’ fees.



Dated: November 15, 2018

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2018 I caused a true and correct copy of the foregoing

to be filed and served electronically via the court’s CM/ECF system.

                                                     /s/ Isaac Rabicoff
                                                     Isaac Rabicoff




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